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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                        Filed: December 21, 2020

* * * * * * *                   *   *    *   *    *    *
TAMMY COPPING,                                         *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 18-1466V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Decision on Stipulation; Influenza
AND HUMAN SERVICES,                                    *                 (Flu); Shoulder Injury Related to
                                                       *                 Vaccine Administration (SIRVA).
                  Respondent.                          *
*    * *     *    * * * *           *    *   *    *    *

Paul R. Brazil, Muller Brazil LLP, Dresher, PA, for petitioner.
Mark K. Hellie, United States Department of Justice, Washington, DC, for respondent.

                                      DECISION ON STIPULATION1

        On September 24, 2018, Tammy Copping (“petitioner”) filed a petition for compensation
within the National Vaccine Injury Compensation Program.2 Petition (ECF No. 1). The petition
seeks compensation for injuries allegedly related to petitioner’s receipt of an influenza (flu)
vaccine, which is a vaccine contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §
100.3(a).

        Petitioner received the flu vaccine on September 27, 2017. The vaccine was
administered within the United States. Petitioner alleges that she sustained a right shoulder
injury related to vaccine administration (SIRVA) within the Table time period after receiving the


1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The Court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion
is posted on the Court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the Court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will
be posted on the Court’s website without any changes. Id.

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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flu vaccine, and alleges that she experienced the residual effects of this injury for more than six
months.

        On December 21, 2020, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation (ECF No. 33). Respondent denies that
petitioner sustained the onset of a Table SIRVA injury within the Table timeframe; that she
suffered any loss of range of motion; and further denies that the flu vaccine caused petitioner’s
alleged right shoulder injury or any other injury. Id. at ¶ 6. Maintaining their respective
positions, the parties nevertheless now agree that the issues between them shall be settled and
that a decision should be entered awarding compensation according to the terms of the
stipulation attached hereto as Appendix A. Id. at ¶ 7.

        The stipulation awards:

        1) A lump sum of $42,500.00 in the form of a check payable to petitioner.

       This amount represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a). I adopt the stipulation as the decision of the Court and hereby award
compensation in the amount and on the terms set forth therein. Accordingly, the Clerk of Court
SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).


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